Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 1 of 25 Page ID #:53




                 Exhibit B
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 2 of 25 Page ID #:54

                                                                                                                                    US006003135A
    Ulllted States Patent [19]                                                                             [11] Patent Number:                                      6,003,135
    Bialick et al.                                                                                         [45]       Date of Patent:                         *Dec. 14, 1999

    [54]     MODULAR SECURITY DEVICE                                                                          5,790,674         8/1998 Houvener et al. ...................... .. 380/23
                                                                                                              5,828,832        10/1998 Holden et al.                         . 713/201
    [75]     Inventors; William P_ Bialick, clarksv?le, Md;                                                   5,878,142         3/1999 Caputo et al. .......................... .. 380/25
                              Mark J. Sutherland, Milpitas, Calif;                                                    FOREIGN PATENT DOCUMENTS
                              Janet L. Dolphin-Peterson, Belvedere,
                               Calif; Thomas K. Rowland, Los                                           W0 82/03286              9/1982     WIPO -
                               Gatos, Calif; Kirk W. Skeba, Fremont,                                   WO 97/29416              8/1997     WIPO -
                                a.       Russell D. Housley, HCI‘IldOIl,
                                                                                                       U.S. application No. 08/869,305, Bialick et al., ?led Jun. 4,
    [73] Assignee: Spyrus, Inc., Santa Clara, Calif.                                                   1997.
    [*]      Notice:          This patent is subject to a terminal dis-                                Primary Examu/er—Jo§_eph E‘ alys
                              Ct at m 6 ft                                                             Assistant Examtner—R1]ue Mai
                                                                                                       Attorney, Agent, or Firm—David R. Graham
    [21] Appl. No.: 08/869,120                                                                         [57]                              ABSTRACT
    [22]     Filed:           Jun. 4, 1997                                                             The invention enables a modular, typically portable, device
                        6                                                                              to communicate With a host computing device to enable one
    [51]     Int. Cl. .................................................... .. G06F 12/14               or more Security Operations to be performed by the modular
    [52]     U.S. Cl. ............................................................ .. 713/201          device on data Stored Within the host Computing device, data
    [58]     Field Of Search ................................... .. 395/186, 800,                      provided from the host Computing device t0 the modular
                             395/18801; 380/26> 4> 23> 25> 30> 49> 50;                                 device (Which can then be, for example, stored in the
                                           235/492; 713/200> 201> 202                                  modular device or transmitted to yet another device), or data
                                               _                                                       retrieved by the host computing device from the modular
    [56]                          References Clted                                                     device (e. g., data that has been stored in the modular device,
                        U_S_ PATENT DOCUMENTS                                                          transmitted to the modular device from another device or
                                                                                                       input to the modular device by a person). In particular, the
           47097136 11/1987 Watanabe ~~                                                  235/379       modular device can include a security module that is adapted
           439103776        3/1990     Dyke ' ' ' ' '                        ' ' ' ' " 380/25          to enable performance of one or more security operations on
           5’191’611        3/1993 Lang """""" "                                   " 380/25            data and a tar et module that is ada ted to enable a de?ned
           5,282,247         1/1994 Mclean m1.                                             380/4       .      ’   .       .g                       .     p.
           5,297,206 3/1994 Orton ...................................... .. 380/30                     mteracnon WM,‘ a host Computmg d‘°jvlce~ The target modllle
           5,442,704 8/1995 Holtey ..................................... .. 380/23                     C?“ be embodled by any of ?1 vanety of modules havlng
           5,457,590 10/1995 Barrett et at _                               360/133                     different types of functionality (e.g., data storage, data
           5,473,692        12/1995    Davis     ____________                _ _ _ _ __ 380/25         communication, data input and output, user identi?cation).
           5,491,827        2/1996 Holtey ......... ..                                   395/800       The modular device can also be implemented so that the
           5,524,134        6/1996 Gustafson et al. ........................ .. 380/9                  Security Operations are performed TIT-line, he” the Security
           5,537,544        7/1996 Morisawa ......................... .. 395/188.01                    Operations are performed between the interface of the host
           535463463        8/1996 Caputo et a1‘                     """" " 380/26                     computing device to the modular device and the external
           5’548’721        8/1996 Denslow """"" "                       395/18701                     communications interface of the target module. Moreover,
           5,610,981        3/1997     Mooney et al.             ..                       380/25                                .              .                                      .
           576307174        5/1997 Stone’ III et at‘                                     395/883       the modular device can be implemented so that the security
           576407302        6/1997 Klkinis ________ __                                   361/687       functionality of the modular device is transparent to the host
           5,694,335 12/1997 Hollenberg                                                  364/514       COIHPHHHg devlce
           5,742,683        4/1998     Lee et al.       ......                . . . ..    380/23

           5,770,849        6/1998 Novis et al. .......................... .. 235/492                                     58 Claims, 10 Drawing Sheets


                                                                                                                                         500

                                                        501 N
                                                                             User connects modular device
                                                                                  to host computing device.


                                                        502 x
                                                                      Host computing device detects presence
                                                                                          of modular device.

                                                                                                   i
                                                                       Modular device establishes its identity.
                                                                                                   i
                                                        504 ‘M Host computing device identities modular device.

                                                                                                   i
                                                        505 7“
                                                                      User interacts with host computing device
                                                                           to begin using modular device.
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 3 of 25 Page ID #:55


    U.S. Patent            Dec. 14,1999     Sheet 1 0f 10          6,003,135




                Host                            Portable            /10O
               Computing                        Device
                Device             <—-—>

       1O1a// Security      101                             m



                                  (PRIOR ART)




                                                                        200
                Host                            Seciirity           /
               Computing                        Device
                Device
                                                            .293

                                                Portable
                                                Device
                                   <———-—>


                            201                             E




                                  (PRIOR ART)
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 4 of 25 Page ID #:56


    U.S. Patent             Dec. 14, 1999         Sheet 2 0f 10          6,003,135




                     Host                               Modular
                     Computing                          Device
                     Device
                                            303         Security
                                                            \


                                                           302a

                                     FIG. 3A




                     4747000
                    470000’
                   000047
                               /                   /4470
                                                  313               S
                                                                   312



                                     FIG. 3B
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 5 of 25 Page ID #:57


    U.S. Patent            Dec. 14,1999     Sheet 3 0f 10        6,003,135




                    Security                       Target
                    Module                         Moduh;




       413/
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 6 of 25 Page ID #:58


    U.S. Patent           Dec. 14,1999       Sheet 4 0f 10       6,003,135




       501 N
                          User connects modular device                  I
                            to host computing device.
                                         l
       502 N         Host computing device detects presence
                                of modular device.
                                         l
       503 ~          Modular device establishes its identity.

                                         l
       504 N Host computing device identi?es modular device.

                                         l
       505 N
                    User interacts with host computing device
                         to begin using modular device.



                                  FIG. 5
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 7 of 25 Page ID #:59


    U.S. Patent                 Dec. 14,1999            Sheet 5 0f 10                 6,003,135

                              _   _   _         _   _   _   _




                         _|
                   Cw
                   E
                   m
                                          “Q1
                                                            9
                        LI.:.                                      3womw3mm5


                                                                   m5
                                                                     mom
                                                                               .GE@
                                                                   @8m8:5

                                                                   wow
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 8 of 25 Page ID #:60
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 9 of 25 Page ID #:61
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 10 of 25 Page ID #:62


     U.S. Patent                    Dec. 14,1999       Sheet 8 0f 10                            6,003,135


                                                       69$2 62

                                           5.w2o7w$)
                      6w
                              35&Sm0:}
                          \
                    »


      mow \ 0Erl                                                      f
                                                                      /\
                                                                       wowwowEm   3m525:0852a

                   (/03
                   4                                      a8660
                                                            Us“353¢
                                                        655:I3650
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 11 of 25 Page ID #:63


     U.S. Patent           Dec. 14,1999                 Sheet 9 0f 10                6,003,135




                              I'-   _   _   _   —   —   —   _   —   "?




              Host                                                   '   Cryptographic
              lntertace                                              I   Processing
                          4                                          I > Device
                                                                     1   interface




                                        Target Module
                                        Interface




                                        FIG. 9A
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 12 of 25 Page ID #:64
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 13 of 25 Page ID #:65


                                                              6,003,135
                                   1                                                                    2
                MODULAR SECURITY DEVICE                                    mechanism 101a to perform appropriate cryptographic
                                                                           operations on data before the data is transferred to the
               CROSS-REFERENCE TO RELATED                                  portable device 102. Similarly, the host computing device
                      APPLICATION                                          101 can receive secured data from the portable device 102
                                                                           and perform appropriate cryptographic operations on the
       This application is related to the commonly owned,                  data to convert the data into a form that enables the data to
     copending US. patent application entitled “Peripheral                 be accessed and/or modi?ed by a person Who is authoriZed
     Device With Integrated Security Functionality,” by William            to do so.
     P. Bialick, Mark J. Sutherland, Janet L. Dolphin-Peterson,
     Thomas K. RoWland, Kirk W. Skeba and Russell D.                         A signi?cant de?ciency of the system 100 is that the
                                                                      10   security mechanism 101a is itself typically not adequately
     Housley, ?led on the same date as the present application
     and having Ser. No. 08/869,305, the disclosure of Which is            secure. It is commonly accepted that the components
     incorporated by reference herein.                                     (including hardWare, softWare and/or ?rmWare) of most host
                                                                           computing devices are inherently insecure. This is because
              BACKGROUND OF THE INVENTION                                  the system design of host computing devices is, typically,
                                                                      15   intentionally made open so that components made by dif
       1. Field of the Invention                                           ferent manufacturers can Work together seamlessly. Thus, an
        This invention relates to a modular, typically portable,           unauthoriZed person may obtain knoWledge of the operation
     device (as Well as the methods employed by such a modular             of the security mechanism 101a (e.g., identify a crypto
     device, and systems including such a modular device and a             graphic key), thereby enabling that person to gain access to,
     host computing device With Which the modular device              20   and/or modify, the (thought to be secured) data.
     communicates) that can communicate With a host computing                FIG. 2 is a block diagram of another prior art system for
     device to enable one or more security operations to be                enabling a host computing device to provide secured data to,
     performed by the modular device on data stored Within the             and retrieve secured data from, a portable device. In FIG. 2,
     host computing device, data provided from the host com                a system 200 includes a host computing device 201, a
     puting device to the modular device, or data retrieved by the    25
                                                                           portable device 202 and a security device 203. The host
     host computing device from the modular device.                        computing device 201, the portable device 202 and security
       2. Related Art                                                      device 203 are adapted to enable communication betWeen
       Computing capability is becoming increasingly portable.             the devices 201 and 202, and betWeen the devices 201 and
     In particular, there are more and more portable peripheral            203. The security device 203 includes appropriately con?g
                                                                      30
     devices that are adapted for communication With a host                ured hardWare, softWare and/or ?rmWare Which can be
     computing device (e.g., desktop computer, notebook com                directed to perform one or more cryptographic operations.
     puter or personal digital assistant) to enable particular func          In the system 200, if it is desired to provide secured data
     tionality to be achieved. These portable peripheral devices           from the host computing device 201 to the portable device
     can take a variety of physical forms (e.g., PCMCIA cards,        35
                                                                           202, the host computing device 201 ?rst causes data to be
     smart cards, CD-ROMs) and can perform an assortment of                transferred to the security device 203, Where appropriate
     functions (e.g., storage, communications and cryptography).           cryptographic operations are performed on the data. The
       HoWever, While portable computing affords a number of               secured data is then transferred back to the host computing
     advantages, it has a signi?cant disadvantage in that the              device 201, Which, in turn, transfers the secured data to the
     computational environment (including the portable periph         40
                                                                           portable device 202. Similarly, the host computing device
     eral devices, the host computing devices in Which they are            201 can receive secured data from the portable device 202
     used, and any other computational devices that communi                by, upon receipt of secured data, transferring the secured
     cate With those devices) is more susceptible to security              data to the security device 203, Which performs appropriate
     breaches, i.e., unauthoriZed access to, or modi?cation of,            cryptographic operations on the data to convert the data into
     programs and/or data resident Within the environment.            45
                                                                           a form that enables the data to be accessed and/or modi?ed
     Consequently, cryptographic devices and methods have                  by a person Who is authoriZed to do so, then transfers the
     been developed for use With such computational environ                unsecured data back to the host computing device 201.
     ments (as Well as other computational environments) to                   The system 200 can overcome the problem With the
     enable increased levels of environment security to be                 system 100 identi?ed above. The security device 203 can be
     obtained.                                                             constructed so that the cryptographic functionality of the
        FIG. 1 is a block diagram of a prior art system for                device 203 can itself be made secure. (Such a security device
     enabling a host computing device to provide secured data to,          is often referred to as a security “token.”) An unauthoriZed
     and retrieve secured data from, a portable device. In FIG. 1,         person can therefore be prevented (or, at least, signi?cantly
     a system 100 includes a host computing device 101 and a               deterred) from obtaining knoWledge of the operation of the
     portable device 102. The host computing device 101 and           55   security device 203, thereby preventing (or signi?cantly
     portable device 102 are adapted to enable communication               deterring) that person from gaining access to, and/or
     betWeen the devices 101 and 102. The host computing                   modifying, the secured data.
     device 101 includes a security mechanism 101a (Which can                 HoWever, the system 200 may still not alWays ensure
     be embodied by appropriately con?gured hardWare, soft                 adequately secured data. In particular, unsecured data may
     Ware and/or ?rmWare, such as, for eXample, a general             60   be provided by the host computing device 201 to the
     purpose microprocessor operating in accordance With                   portable device 202 if the host computing device 201—
     instructions of one or more computer programs stored in a             Whether through inadvertent error or deliberate attack by a
     data storage device such as a hard disk) Which can be                 user of the host computing device 201, or through malfunc
     directed to perform one or more cryptographic operations.             tion of the host computing device 201—fails to ?rst transfer
       In the system 100, if it is desired to provide secured data    65   data to the security device 203 for appropriate cryptographic
     from the host computing device 101 to the portable device             treatment before providing the data to the portable device
     102, the host computing device 101 causes the security                202.
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 14 of 25 Page ID #:66


                                                               6,003,135
                                   3                                                                      4
        Additionally, the system 200 requires the use of tWo                devices. Additionally, implementing a modular device
     separate peripheral devices (portable device 202 and secu              according to the invention so that the performance of
     rity device 203) to enable the host computing device 201 to            security operations by the modular device is transparent can
     exchange secured data With the portable device 202. For                reduce or eliminate the need to modify aspects of the
     several reasons, this may be inconvenient. First, both                 operation of the host computing device (e.g., device drivers
     devices 202 and 203 may not be available at the time that it           of the host computing device), making implementation and
     is desired to perform a secure data exchange (e.g., one may            use of a data security system including the modular device
     have been forgotten or misplaced). Second, even if both                simpler and easier. Thus, the possibility that a user Will use
     devices 202 and 203 are available, it may not be possible to           the system incorrectly (e.g., fail to apply security operations
     connect both devices 202 and 203 at the same time to the          10
                                                                            to an interaction With the host computing device, or apply
     host computing device 201, making use of the devices 202
                                                                            the security operations incorrectly or incompletely) is
                                                                            reduced. Making the security operations transparent can also
     and 203 cumbersome and increasing the likelihood that                  enhance the security of those operations.
     unsecured data is provided by the host computing device                   In one embodiment of the invention, a modular device
     201 to the portable device 202.                                        that is adapted to enable communication With a host com
                                                                       15
                 SUMMARY OF THE INVENTION                                   puting device includes a security module and a target
                                                                            module that are constructed so that the modules can physi
        A modular device according to the invention can be used             cally engage With one another, as Well as communicate With
     to communicate With a host computing device to enable one              each other. The target module is adapted to enable a de?ned
     or more security operations to be performed by the modular             interaction With a host computing device (examples of
     device on data stored Within the host computing device, data           Which are given beloW). The security module is adapted to
     provided from the host computing device to the modular                 enable performance of one or more security operations on
     device (Which can then be, for example, stored in the                  data. The target module can be embodied, for example, as a
     modular device or transmitted to yet another device), or data          memory module adapted to enable non-volatile storage of
     retrieved by the host computing device from the modular                data (e.g., a module including a solid-state disk storage
     device (e.g., data that has been stored in the modular device,    25 device such as a compact ?ash memory device), a commu
     transmitted to the modular device from another device or               nications module adapted to enable communication betWeen
     input to the modular device by a person). In particular, the           the host computing device and a remote device (e.g., a
     modular device can include a security module that is adapted           modem module or a LAN transceiver module), a biometric
     to enable performance of one or more security operations on            module (e.g., a ?ngerprint scanning module, a retinal scan
     data, and a target module that is adapted to enable a de?ned           ning module, a faceprint scanning module), or a smart card
     interaction With a host computing device. The target module            reader module adapted to communicate With a smart card. In
     can be embodied by any of a variety of modules having                  a further particular embodiment of the modular device, the
     different types of functionality (e.g., data storage, data             security module is adapted to enable communication With a
     communication, data input and output, user identi?cation),             host computing device. In another further particular
     as described further beloW. The modular device can be 35 embodiment, the modular device is further adapted to enable
     implemented so that the modular device can be operated in              provision of the type of a target module to a host computing
     any one of multiple user-selectable modes: a security func             device in response to a request from the host computing
     tionality only mode, a target functionality mode, and a                device for information regarding the type of the modular
     combined security and target functionality mode. The modu              device.
     lar device can also be implemented so that the security                  In another embodiment of the invention, a modular device
     operations are performed in-line, i.e., the security operations        includes a security module that is adapted to enable perfor
     are performed betWeen the interface of the host computing              mance of one or more security operations on data, and a
     device to the modular device and the external communica                target module that is adapted to enable a de?ned interaction
     tions interface of the target module. Moreover, the modular            With a host computing device (such as the interactions
     device can be implemented so that the security functionality      45   discussed above With respect to exemplary embodiments of
     of the modular device is transparent to the host computing             the target module of the previously discussed embodiment
     device.                                                                of the invention). The security and target modules are
       A modular device according to the invention can advan                adapted so that the modules can communicate With each
     tageously enable application of security operations to a Wide          other. HoWever, only the security module is enabled to
     variety of interactions With a host computing device. In               communicate directly With the host computing device. In a
     particular, a modular device according to the invention can            further particular embodiment of the modular device, the
     accomplish this Without necessity to use multiple peripheral           security module is further adapted to enable provision of the
     devices that each include security functionality in addition to        type of a target module to a host computing device in
     the primary functionality of the peripheral device. This can,          response to a request from the host computing device for
     for example, facilitate use of peripheral devices having          55   information regarding the type of the modular device.
     security capability that operate in a predictable, reliable and          In yet another embodiment of the invention, a modular
     consistent (yet secure) manner, since a single security mod            device that is adapted to enable communication With a host
     ule can be used to provide security to multiple types of               computing device, and that includes a security module that
     interaction With a host computing device. This can also                is adapted to enable performance of one or more security
     enable ease and ?exibility in use of secure peripheral                 operations on data and a target module that is adapted to
     devices, since the same security module can be used With a             enable a de?ned interaction With a host computing device, is
     variety of target modules. Moreover, the provision of in-line          further adapted to enable provision of the type of a target
     security in a modular device according to the invention                module to a host computing device in response to a request
     enables a more secure exchange of data betWeen a host                  from the host computing device for information regarding
     computing device and the modular device, overcoming the           65   the type of the modular device. As With the previously
     problems identi?ed above in previous systems for perform               discussed embodiments of the invention, the target module
     ing security operations on data exchanged betWeen such                 can be embodied by any of a variety of modules.
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 15 of 25 Page ID #:67


                                                              6,003,135
                                   5                                                                     6
       In still another embodiment of the invention, a modular                   BRIEF DESCRIPTION OF THE DRAWINGS
     device that is adapted to enable communication With a host
     computing device, and that includes a security module that              FIG. 1 is a block diagram of a prior art system for
     is adapted to enable performance of one or more security              enabling a host computing device to provide secured data to,
     operations on data and a target module that is adapted to             and retrieve secured data from, a portable device.
     enable a de?ned interaction With a host computing device, is            FIG. 2 is a block diagram of another prior art system for
     further adapted to enable the security module and/or the              enabling a host computing device to provide secured data to,
     target module to be operably connected to the host comput             and retrieve secured data from, a portable device.
     ing device in response to an instruction from the host                   FIG. 3A is a block diagram of a system according to the
     computing device. As With the previously discussed embodi        10   invention.
     ments of the invention, the target module can be embodied                FIG. 3B is a perspective vieW of a physical implementa
     by any of a variety of modules.                                       tion of the system of FIG. 3A, according to one embodiment
       In another embodiment of the invention, a security mod              of the invention.
     ule is adapted to enable communication With a host com
                                                                              FIG. 4A is a block diagram of a modular device, accord
     puting device, performance of one or more security opera         15
     tions on data, and communication With a target module that
                                                                           ing to one embodiment of the invention, including a security
     is adapted to enable a de?ned interaction With a host
                                                                           module and a target module that, together, can embody the
     computing device. The security module can also be adapted             modular device of the system of FIG. 3A.
     to enable physical engagement With the target module.                    FIG. 4B is a plan vieW of a modular device that represents
     Additionally, the security module can be adapted to enable            a physical implementation, according to one embodiment of
     communication With a target module to obtain information              the invention, of the modular device of FIG. 4A.
     from the target module that can be used to identify the type            FIG. 5 is a How chart of a method, according to an
     of the target module. Such a security module can further be           embodiment of the invention, for initiating use of a system
     adapted to enable provision of the information to a host              according to the invention.
     computing device in response to a request from the host          25     FIG. 6 is a block diagram of a system, according to an
     computing device for information regarding the type of the            embodiment of the invention, illustrating operation of the
     device of Which the security module is part.                          system during a method according to the invention as in
        In yet another embodiment of the invention, a data                 FIG. 5.
     security system includes a host computing device and a                  FIG. 7 is a How chart of a method, according to an
     modular device including a security module. The host com              embodiment of the invention, for using a modular device
     puting device and the security module are adapted to enable           according to the invention.
     communications With each other. The security module is
                                                                             FIG. 8 is a block diagram of a security module according
     also adapted to enable performance of one or more security
                                                                           to one embodiment of the invention.
     operations on data, and communication With a target module
     that is adapted to enable a de?ned interaction With a host 35           FIG. 9A is a block diagram illustrating the How of data
     computing device. In a further particular embodiment of the           through the interface control device of FIG. 8.
     system, the modular device further includes a target module             FIG. 9B is a block diagram of a particular embodiment of
     Which is adapted to enable communication With a security              an interface control device for use in a security module
     module, as Well as to enable a de?ned interaction With a host         according to the invention.
     computing device (examples of Which are discussed above
                                                                                     DETAILED DESCRIPTION OF THE
     With respect to exemplary embodiments of the target module
                                                                                              INVENTION
     of previously discussed embodiments of the invention). In
     another further particular embodiment of the system, the                 FIG. 3A is a block diagram of a system 300 according to
     security module is further adapted to enable communication            the invention. The system 300 includes a host computing
     With a target module to obtain information from the target       45   device 301 and a modular device 302 that communicate via
     module that can be used to identify the type of the target            a communications interface 303. The modular device 302
     module, and subsequent provision of the information to a              includes at least a security module 302a that enables security
     host computing device in response to a request from the host          operations (examples of Which are described in more detail
     computing device for information regarding the type of the            beloW) to be performed on data that is stored Within the host
     modular device.                                                       computing device 301, data that is transmitted from the host
       In still another embodiment of the invention, a method for          computing device 301 to the modular device 302, or data
     use in a modular device adapted for communication With a              that is transmitted from the modular device 302 to the host
     host computing device, the modular device including a                 computing device 301. As explained in more detail beloW,
     security module and a target module, includes the steps of            such a modular device can also include a target module for
     receiving a request from the host computing device for           55   providing additional functionality to a system according to
     information regarding the type of the modular device, and             the invention, such as, for example, a memory module (e.g.,
     providing the type of the target module to the host comput            a module including a compact ?ash memory device), a
     ing device in response to the request. In a further particular        communications module (e.g., a module including a modem
     embodiment of the method, the method includes the step of             or a LAN transceiver), a biometric module (e.g., a module
     controlling the security module to communicate With the               including a ?ngerprint scanning device, a retinal scanning
     target module so as to obtain information from the target             device, or a faceprint scanning device) or a smart card reader
     module that can be used to identify the type of the target            module.
     module. This last step can be particularly advantageous                  Generally, the communications interface 303 can be any
     When used With a modular device in Which only the security            embodied by any of a variety of communication interfaces,
     module can communicate directly With the host computing          65 such as a Wireless communications interface, a PCMCIA
     device, since the method alloWs the presence of the security          interface, a smart card interface, a CD-ROM interface, a
     module to be masked from the host computing device.                   serial such as an RS-232 interface, a parallel interface, or a
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 16 of 25 Page ID #:68


                                                             6,003,135
                                  7                                                                    8
     SCSI interface. Each embodiment of the communications                FIG. 4A. The modular device 410 includes a ?rst module
     interface 303 includes hardware present in each of the host          411 and a second module 412. Aconnector 413 is formed at
     computing device 301 and modular device 302 that operates            one end of the ?rst module 411. Opposite the connector 413,
     in accordance With a communications protocol (Which can              tWo opposing arms 414a and 414b extend from the ?rst
     be embodied, for example, by softWare stored in a memory             module 411, forming a recess therebetWeen. The second
     device and/or ?rmWare that is present in the host computing          module 412 has a siZe such that the second module 412 can
     device 301 and/or modular device 302) appropriate for that           ?t into the recess betWeen the arms 414a and 414b of the ?rst
     type of communications interface, as knoWn to those skilled          module. When the second module 411 is inserted into the
     in the art. Each embodiment of the communications inter              recess of the ?rst module 410, the modules 410 and 411 can
     face 303 also includes mechanisms to enable physical            10   be physically engaged With, or attached to, each other. Such
     engagement, if any, betWeen the host computing device 301            engagement or attachment can be accomplished in any
     and modular device 302.                                              appropriate manner. For example, a friction ?t betWeen
                                                                          corresponding pins and sockets formed on the modules 410
       Generally, the security module 302a can be con?gured to
                                                                          and 411 can be used to hold the modules 410 and 411 in
     perform any electronic data security operation (herein,              place With respect to each other (the pins and sockets can
     referred to simply as a “security operation”) including, for    15
                                                                          also enable electrical communication betWeen the modules).
     example, operations that provide one or more of the basic
                                                                          The modular device 410 can have a siZe and shape such that
     cryptographic functions, such as maintenance of data
                                                                          the modular device 410 can be inserted into a Type II
     con?dentiality, veri?cation of data integrity, user authenti
                                                                          PCMCIA card slot, and the connector 413 can conform
     cation and user non-repudiation. Particular security opera
                                                                          physically to the speci?cation for Type II PCMCIA cards, so
     tions that can be implemented in a modular device according
                                                                          that the modular device 410 can be inserted into a Type II
     to the invention are described in more detail beloW.
                                                                          PCMCIA card slot of a host computing device to enable
        The security module 302a can be, for example, a security          communication betWeen the host computing device and the
     token. Herein, “security token” refers to a device that              modular device 410.
     performs security operations and that includes one or more             In general, either of the ?rst module 411 or second module
                                                                     25
     mechanisms (such as, for example, use of a hardWare                  412 can be a security module and the other can be a target
     random number generator and/or protected memory) to                  module. HoWever, since as shoWn in FIG. 4B and described
     provide security for the content of those operations.                above, the connector 413 makes connection to the host
        FIG. 3B is a perspective vieW of a physical implementa            computing device, it is preferable that the ?rst module 411
     tion of the system 300 of FIG. 3A, according to one                  be the security module and the second module 412 be the
     embodiment of the invention. In FIG. 3B, the modular                 target module to facilitate implementation of the in-line
     device 302 is embodied as a card 312 that can be inserted            security aspect of the invention.
     into a corresponding slot 313 formed in a portable computer            FIG. 5 is a How chart of a method 500, according to one
     311 that, in FIG. 3B, embodies the host computing device             embodiment of the invention, for initiating use of a system
     301.                                                            35   according to the invention. The method 500 enables an
       FIG. 4A is a block diagram of a modular device 400,                aspect of the invention in Which the presence of a security
     according to one embodiment of the invention, including a            module as part of a modular device is not detected by a host
     security module 401 and a target module 402 that, together,          computing device, thus making the security operations per
     can embody the modular device 302 of the system 300 of               formed by the security module transparent to the host
     FIG. 3A. (Note, though, that it is possible, as explained in         computing device and, depending upon the particular man
     more detail beloW, to use the modular device 400 With only           ner in Which the security module is implemented, to a user
     the security module 401.) The security module 401 and                of the system.
     target module 402 are physically separate devices that can be          FIG. 6 is a block diagram of a system 600, according to
     physically and electrically joined (as described further             an embodiment of the invention, illustrating operation of the
     beloW) to enable communication betWeen the modules 401          45   system 600 during a method according to the invention such
     and 402.                                                             as the method 500 of FIG. 5. The system 600 includes a host
       The modular device 400 can have a number of advanta                computing device 601 and a modular device 602. The
     geous characteristics. The modular device 400 can be imple           modular device 602 includes a security module 610 and a
     mented in a manner that enables the security operations to be        target module 620. The host computing device 601 includes
     performed in a manner that is transparent to a host comput           a display device 603a (e.g., a conventional computer display
     ing device (and, depending upon the particular implemen              monitor) and user input device 603b (e.g., a keyboard,
     tation of the modular device 400, to a user of a system              mouse, trackball, joystick or other appropriate device),
     including the modular device 400) of a system according to           referred to collectively hereinafter as user interface device
     the invention, so that the host computing device (and,               603. The host computing device 601 also includes, mounted
     perhaps, user) is aWare only of the presence of the func        55   Within a housing 604, a processing device 605, a memory
     tionality associated With the target module 402.                     device 606, an input/output (I/O) device 607 for enabling
     Additionally, the modular device 400 can be implemented so           communication With the user interface device 603, and an
     that security operations are performed “in-line,” i.e., the          input/output (I/O) device 608 for enabling communication
     security operations are performed betWeen the interface of           With modular device 602. The devices 605, 606, 607 and 608
     the host computing device to the modular device 400 and the          can each be implemented by conventional such devices and
     external communications interface of the target module 402.          can communicate With each other via a conventional com
     Further, the modular device 400 enables a Wide variety of            puter bus 609, as is Well knoWn and understood. The security
     secure target module functionality to be easily provided to a        module 610 of the modular device 602 includes a processing
     host computing device.                                               device 611, a memory device 612, an input/output (I/O)
       FIG. 4B is a plan vieW of a modular device 410 that           65   device 613 for enabling communication With the host com
     represents a physical implementation, according to one               puting device 601, and an input/output (I/O) device 614 for
     embodiment of the invention, of the modular device 400 of            enabling communication With the target module 620 of the
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 17 of 25 Page ID #:69


                                                                 6,003,135
                                                                                                           10
     modular device 602. The devices 611, 612, 613 and 614 can                suspends operation of this aspect of the operating system
     each be implemented by conventional such devices and can                 softWare, so that the modular device can establish its
     communicate With each other via a conventional computer                  identity, as shoWn by step 503, and explained further beloW.
     bus 615, as is Well knoWn and understood. The target                     As Will be apparent from that explanation, performance of
     module 620 of the modular device 602 includes a processing               the step 503 advantageously enables the modular device to
     device 616, a memory device 617, and an input/output (I/O)               assume the identity of the target module that is part of the
     device 618 for enabling communication With the security                  modular device at that time. Since, as described elseWhere
     module 610. The devices 616, 617 and 618 can each be                     herein, a variety of types of target modules can be used as
     implemented by conventional such devices and can com                     part of a modular device according to the invention, the
     municate With each other via a conventional computer bus            10   modular device can take a variety of identities.
     619, as is Well knoWn and understood. The host computing                   The particular manner in Which operation of the operating
     device 601, and the security module 610 and target module                system softWare is suspended so that the modular device can
     620 of the modular device 602 are shoWn in simpli?ed form                establish its identity can depend on the characteristics of the
     in FIG. 6 to facilitate clarity in illustration of this aspect of        operating system softWare and/or the device interface.
     the invention; as described in more detail beloW and as 15 HoWever, for many combinations of operating system soft
     understood by those skilled in the art, the host computing               Ware and device interface, the operating system softWare
     device 601, the security module 610 and the target module                Waits for con?rmation that the device connected to the
     620 can—and typically Will—include other devices not                     device interface is ready for further interaction With the
     shoWn in FIG. 6.                                                         operating system softWare before the operating system soft
       Returning to FIG. 5, use of a system according to the                  Ware seeks to identify the type of the device connected to the
     invention begins When, as shoWn by step 501, a user of the               interface (the standard for PCMCIA interfaces, for example,
     system connects a modular device according to the invention              speci?es such operation). In such cases, the modular device
     to a host computing device. Such connection can occur in                 can be con?gured to delay informing the operating system
     any manner that enables the modular device to communicate                softWare that the modular device is ready for further inter
     With the host computing device. Frequently, this Will occur         25   action until the modular device has established its identity.
     as a result of a physical connection of the modular device to               The folloWing description of one Way in Which the step
     the host computing device. (In general, such physical con                503 can be implemented can best be understood by reference
     nection can occur either before or after the host computing              to the system 600 shoWn in FIG. 6. One Way in Which the
     device begins operating; hoWever, in the former case, sub                operating system softWare of a host computing device can
     sequent steps of the method 500—With the exception of,                   identify the type of a peripheral device is to access a knoWn
     depending upon the implementation of the modular device,                 memory section of a memory device of the peripheral
     the step 503—cannot be performed until the host computing                device, as established by an interface standard developed for
     device begins operating.) For example, the modular device                that type of peripheral device, that stores data representing
     can be embodied in a card or disk (e.g., a card conforming   the type of the peripheral device. This is true for a variety of
     to a PCMCIA form factor as established by the appropriate 35 types of peripheral devices, such as, for example, peripheral
     standard) that is inserted into a corresponding socket formed            devices that conform to the PCMCIA standard. (The PCM
     in the host computing device. Or, the modular device can be              CIA standard, for example, includes a speci?cation, called
     embodied in a housing from Which a cord extends, a plug of               the Card Information Structure, that de?nes, among other
     the cord being inserted into a mating receptacle formed in               things, a location in a portion of memory of a PCMCIA card,
     the host computing device. HoWever, such physical connec                 denoted as “attribute memory”, that stores data identifying
     tion need not necessarily occur; the modular device can also             the type of the PCMCIA card.) In the system 600, the
     be connected to the host computing device by any type of                 modular device 602 is such a device. Further, since the
     Wireless communication for Which the host computing                      modular device 602 is con?gured so that the security module
     device contains an appropriate interface.                                610 communicates With the host computing device 601, the
       Once connection betWeen the modular device and the host           45   memory section Which the host computing device 601 seeks
     computing device is made, the host computing device                      to access is in the memory device 612 of the security module
     detects the presence of the modular device, as shoWn by step             610. This section is shoWn as the memory section 612a in
     502. Such detection of the presence of a peripheral device is            FIG. 6 and the data stored therein is referred to herein as
     typically enabled as a standard aspect of the operating                  “modular device identi?cation data.”
     system softWare of the host computing device.                              Prior to use of the modular device 602 With the host
       Typically, once the presence of a neW peripheral device is             computing device 601, the data stored in the memory section
     detected by the operating system softWare of the host                    612a of the security module 610 is data that identi?es the
     computing device, the operating system softWare (or com                  type (i.e., security device) of the security module 610
     panion softWare program) also identi?es the type of the                  (“security module identi?cation data”). Thus, initially, the
     peripheral device. This can be accomplished, for example,           55   modular device 602 is identi?ed as a security device.
     by a standard softWare device driver (hereinafter, “host                 HoWever, in FIG. 6 (and in many other embodiments of a
     driver”) for devices of the type that use the host computing             modular device according to the invention as Well), the
     device interface that is being used by the modular device                modular device 602 includes a target module 620. According
     602. In FIG. 6, the host driver is shoWn stored in the memory            to the invention, and as explained in more detail beloW, the
     section 606a of the memory device 606 of the host com                    modular device 602 can be implemented so that the modular
     puting device 601. (The Card Services or Socket Services                 device 602 assumes the identity of the target module 620
     programs that often are bundled With the WindoWs95TM                     rather than that of the security module 610. This enables the
     operating system softWare for use in performing various                  host computing device 601 to interact With the modular
     “housekeeping” functions associated With a PCMCIA inter                  device 602 as though the modular device 602 Were a device
     face are examples of such drivers.) HoWever, in the method          65   of the type of the target module 620, Without recogniZing
     500, before the operating system softWare can perform such               that a security module 610 is present that may be performing
     identi?cation, the modular device according to the invention             security operations. Thus, the need to modify aspects of the
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 18 of 25 Page ID #:70


                                                                 6,003,135
                                    11                                                                      12
     operation of the host computing device (e.g., the host device               Returning to FIG. 5, after the modular device has estab
     driver) is reduced or eliminated, making implementation and              lished its identity, the host computing device identi?es the
     use of a data security system including the modular device               modular device, as shoWn by step 504. This can be imple
     602 simpler and easier. Since use of the data security system            mented as part of the host driver, as indicated above.
     is easier (e. g., a user need not provide input to cause the host          Once the host computing device has identi?ed the modu
     driver to be appropriately tailored to enable desired inter
                                                                              lar device (and other host computing device operating
     action With a security device), the possibility that a user Will
     use the system incorrectly (e.g., fail to apply security opera           system softWare operations concluded, if applicable), the
     tions to an interaction With the host computing device, or               user can begin using the modular device (in particular, the
     apply the security operations incorrectly or incompletely) is            security functionality of the modular device), as shoWn by
                                                                         10   step 505 of the method 500. Such use can be enabled by one
     reduced.
       When the modular device 602 is connected to the host                   or more softWare programs (referred to collectively herein
     computing device 601 (e.g., step 501 of the method 500),                 after as a “modular device driver,” though such programs
     poWer is applied to the modular device 602. Upon applica                 can include programs in addition to those conventionally
     tion of poWer to the modular device 602, a startup program               termed “drivers,” such as programs conventionally termed
                                                                         15   “applications”) that are eXecuted by the host computing
     stored in the memory device 612 of the security module 610
     of the modular device 602 begins to eXecute. This program                device.
     can include instructions that cause the processing device 611              The use of a separate driver to control and interact With
     of the security module 610 to communicate via the I/O                    the security functionality of a modular device according to
     interface 614 With the target module 620 to ascertain the                the invention can be advantageous because it reduces or
     type of the target module 620. Each target module to be used             eliminates the need to modify the host driver. As a practical
     as part of a modular device according to the invention can               matter, such modi?cation of the host driver can likely only
     be implemented so that data representing the type of that                be accomplished by requiring a user to interact With a
     target module (“target module identi?cation data”) is stored             standard host driver to appropriately modify the standard
     at a particular memory section in a memory device of the
                                                                              host driver. This is undesirable because the user may forget
     target module. In FIG. 6, this is shoWn by the memory               25
     section 617a in the memory device 617 of the target module               to modify the driver or modify the driver incorrectly or
     620. Thus, the startup program executed on the security                  incompletely.
     module 610 can include instructions to cause the processing                 The modular device driver can have previously been
     device 616 of the target module 620 to access the memory                 installed on a data storage device (e.g., hard disk) of the host
     section 617a in the memory device 617, and transfer to the               computing device (in FIG. 6, the modular device driver is
     security module 610, via the I/O interface 618, the data                 shoWn stored in the memory section 606b of the memory
     representing the type of the target module 620. When the                 device 606 of the host computing device 601), or can be
     target module identi?cation data is transferred to the security          made accessible to the host computing device via an appro
     module 610, the data is stored in the memory section 612a                priate interface (such as a ?oppy disk drive, CD-ROM drive
     Which the host computing device operating system softWare           35 or netWork connection) at a time When the user Wishes to
     Will access to obtain the modular device identi?cation data,             initiate interaction betWeen the host computing device and
     thus resulting in identi?cation of the modular device 602 by             the modular device. Additionally, When a modular device
     the host computing device 601 as a device of the type of the             according to the invention is used With a host computing
     target module 620.                                                       device Which utiliZes operating system softWare that sup
       Alternatively, the same result can be achieved by modi                 ports the feature informally referred to as “plug and play”,
     fying the host driver so that the host driver accesses a                 it is also possible to store the modular device driver in a
     different section of the memory 612 at Which data repre                  memory device of the modular device and con?gure the
     senting the type of the target module is knoWn to be stored.             modular device so that, When the modular device is con
     HoWever, because the former approach does not necessitate                nected for the ?rst time to a particular host computing
     modifying the host driver, the former approach may be               45
                                                                              device, the host computing device automatically provides
     preferable.                                                              the user With the opportunity to instruct the host computing
       Though, as shoWn in FIG. 6, the modular device 602                     device to cause the modular device driver to be transferred
     includes the security module 610 and target module 620, the              from the modular device to the host computing device.
     system 600 can also operate When the modular device 602                    FIG. 7 is a How chart of a method 700, according to an
     includes only the security module 610, the modular device                embodiment of the invention, for using a modular device
     602 being used in that case to enable security operations to             according to the invention. It is to be understood that the
     be performed on data stored in the host computing device                 method 700 shoWn in FIG. 7 is not the only Way to enable
     601. In such a case, When the modular device 602 establishes             the aspects of use of a modular device according to the
     its identity to be supplied to the host computing device 601             invention that are illustrated in FIG. 7; as can be readily
     (e.g., step 503 of the method 500), such identity is estab          55   appreciated by those skilled in the art, such aspects can be
     lished simply by retaining unchanged in the location 612a of             implemented using any of a variety of other appropriate
     the memory device 612 the information identifying the                    methods. Further, the use of a modular device according to
     modular device 602 as a security device.                                 the invention can include aspects not illustrated in FIG. 7;
        Before the target module identi?cation data is stored in              likeWise, such use may not include some of the aspects
     the memory section 612a of the memory device 612 of the                  illustrated in FIG. 7. The method 700 of FIG. 7 is shoWn
     security module 610, the security module identi?cation data              merely to aid in the illustration of certain aspects of the
     is moved from the memory section 612a in the memory                      invention, and should not be interpreted as restricting the
     device 612 to a different, prede?ned memory section 612b                 manner in Which a modular device according to the inven
     of the memory device 612. This enables the security module               tion can be used.
     identi?cation data to be accessed by the modular device             65     To begin using a modular device according to the
     driver (discussed beloW), so that the security functionality of          invention, a user instructs the host computing device to
     the modular device can be used.                                          begin execution of the modular device driver, as shoWn by
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 19 of 25 Page ID #:71


                                                                6,003,135
                                   13                                                                      14
     step 701 of the method 700, the user having obtained                    tionality plus target functionality); if no, the third mode is
     knowledge of the appropriate command to begin execution                 used (target functionality only).
     of the modular device driver in any appropriate manner (e.g.,             The modular device driver can be implemented so that the
     from a user manual accompanying the modular device driver               user must successfully enter an acceptable access code (e. g.,
     and/or the modular device). In general, the steps of the                a passWord or PIN) before the user is enabled to use the
     method 700 occur as a result of operation of a modular                  modular device. In particular, it can be desirable to require
     device driver; hoWever, operation of the host driver may be             an access code before enabling a user to use the security
     necessary or desirable to enable some aspects of the method             functionality, thus establishing a layer of security that pro
     700 (e. g., execution of a transaction, as in steps 708, 712 and        tects the integrity of the security operations themselves. In
     715).                                                                   the method 700, as shoWn by the step 704, an acceptable
       As indicated above, a modular device according to the                 access code must be entered by the user before the security
     invention can be implemented so that, When a target module              functionality of the modular device can be used. An access
     is present as part of the modular device, the host driver               code can be entered, for example, by inputting the access
     cannot detect the presence of the security functionality of the         code in a conventional manner using a user interface device
     modular device. In such case, the modular device driver            15   (e.g., keyboard) of the host computing device. Or, an access
     enables the detection of the security functionality, as shoWn           code can be entered using a target module (such as a
     by step 702 of the method 700. This can be accomplished by              biometric module, discussed in more detail beloW) that is
     including instructions as part of the modular device driver             part of the modular device according to the invention.
     that, When the modular device driver ?rst begins executing,               Advantageously, an access code can be used not only to
     cause the modular device driver to access a prede?ned                   control access to the security (or other) functionality of the
     location of a memory device of the modular device                       modular device, but also to identify a “personality” of the
     (preferably, and as described above, a memory device of a               user. Each personality is represented by data that establishes
     security module of the modular device) for data that iden               certain characteristics of operation of the modular device,
     ti?es Whether the modular device is a device having security            such as, for example, restrictions on operation of the modu
     functionality that is compatible With the modular device           25   lar device (e.g., limitations on the types of security opera
     driver. (In FIG. 6, this is shoWn as the memory section                 tions that can be performed) or speci?cation of operating
     612b.) If the modular device is such a device, then the                 parameters or characteristics (e.g., cryptographic keys or
     modular device driver can enable the user to make use of the            speci?cation of a particular incarnation of a type of security
     security functionality of the modular device. Further, the              algorithm, such as a particular encryption algorithm). A
     modular device driver can be implemented, as shoWn in                   single user can have multiple personalities: each personality
     FIG. 7, so that, if the proper security functionality is not            might, for example, correspond to a different capacity in
     detected, execution of the modular device driver terminates,            Which a user acts. Data representing personalities and cor
     preventing use of the modular device. Alternatively, the                responding user access codes can be stored in a memory
     modular device driver can be implemented so that, if the                device of the security module of the modular device.
     proper security functionality is not detected, the functional      35     Upon receipt of an acceptable access code, the modular
     ity of a target module of the modular device can be used                device driver controls the host computing device to present
     Without the security functionality of the modular device.               a user interface that enables the user to effect desired control
       Amodular device according to the invention that includes              of the modular device, and, in particular, to use the modular
     a security module and a target module can, in general, be               device to perform security operations, as described beloW.
     operated in one of three modes: 1) a mode in Which only the             (If access codes are also used to identify personalities, upon
     functionality of the security module is used, 2) a mode in              receipt of an acceptable access code, the modular device
     Which the functionality of both the security and the target             driver can also access and retrieve the data representing the
     modules is used, and 3) a mode in Which only the function               corresponding personality, so that the operation of the modu
     ality of the target module is used. The user can be enabled             lar device can be controlled accordingly.) The user interface
     to, via the modular device driver, select any one of the three     45   for enabling a user to operate the modular device can be
     modes of operation. HoWever, in some applications, it may               implemented in any of a variety of Well knoWn Ways (e.g.,
     be desirable to inhibit operation in one or tWo of the modes.           as a graphical user interface) using methods and apparatus
     In particular, it may be desirable to prevent operation of the          that are Well knoWn to those skilled in the art. Generally, the
     modular device in the last of the above-listed modes, i.e., a           user interface enables the user to perform any functionality
     mode in Which the security module is not used, if it is desired         that is provided by the modular device, as described in more
     to ensure that use of the target module can only occur With             detail elseWhere herein.
     the application of one or more security operations. This                   As indicated above, a modular device according to the
     could be accomplished by implementing the modular device                invention can be operated in any of three modes. Once an
     driver so that the option to operate in that mode is not                acceptable access code has been entered, the modular device
     presented to the user, or the modular device could be              55 driver can enable the user to select one of the three modes,
     con?gured during manufacture to prohibit operation in that              as shoWn in step 705 of the method 700. (Alternatively, as
     mode. For example, if the target module is a communica                  mentioned above, it may be desirable to present the user
     tions module or a memory module, it may be desirable to                 only With the option of choosing the security functionality
     ensure that unencrypted data cannot be transferred via the              only mode or the security functionality plus target function
     communications module or stored on the memory module,                   ality mode, so as to eliminate the possibility that the user Will
     Whether done inadvertently or on purpose.                               effect an unsecured use of the target module.) If the security
        In the method 700, all three of the above-listed modes are           functionality only mode, or the security functionality plus
     available for use. In the step 703 of the method 700, a                 target functionality mode, is selected, then the user interface
     determination is made as to Whether the security module is              (and the underlying modular device driver) enables the user
     to be used. (As noted above, such use may be required.) If         65   to input all desired or required instructions regarding the
     yes, the modular device is operated in one of the ?rst tWo              security operations to be performed for a particular “trans
     modes above (security functionality only, or security func              action” (e.g., a storage of data in a memory module, a
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 20 of 25 Page ID #:72


                                                                 6,003,135
                                   15                                                                      16
     transmission of data by a communications module, or an                   functionality plus target functionality mode (steps 710, 711,
     exchange of data With a smart card reader module), as shoWn              712, 714, 715, 716 and 717 of the method 700 cannot be
     by steps 706 and 710 of the method 700. For example, the                 performed) and so that no indication (e.g., presentation of a
     user interface can enable the user to select data to Which               user interface display that alloWs input of instructions
     security operations are to be performed, specify the appli               regarding the performance of security operations, as in step
     cation of particular security operations to data, or specify             706 of the method 700) is given of the presence of the
     parameters or other information required for a particular                security functionality of the modular device. Rather, the user
     security operation. If the security functionality plus target            Would simply be presented With options regarding operation
     functionality mode, or the target functionality only mode, is            of the target module (step 707 of the method 700). In such
     selected, then the user interface and modular device driver         10   an implementation, the modular device driver can be imple
     enable the user to input all desired or required instructions            mented to automatically cause one or more predetermined
     regarding use of the target module for the transaction, as               security operations to be performed based upon a user
     shoWn by steps 707 and 711 of the method 700. For                        speci?ed interaction With the target module, or the modular
     example, if the target module is a memory module, the user               device can be con?gured to cause such security operations
     interface can enable the user to specify a name for the stored 15        to be performed any time a speci?ed interaction With the
     data. Or, for example, if the target module is a communi                 target module occurs.
     cations module, the user interface can enable the user to                   A signi?cant advantage of a modular device according to
     specify a destination (e. g., an electronic mail address) for the        the invention is that the modular device can be implemented
     data.                                                                    so that any of a variety of types of target modules can be
        Once the user has provided instructions in steps 706 and              included as part of the modular device. In particular, as
     707, in step 710, or in step 711, the transaction is executed,           described in more detail beloW, the security module includes
     as shoWn by step 708 or step 712 of the method 700. After                an interface control device Which enables and manages
     execution of the transaction, the user can be alloWed to                 communications betWeen and among the host computing
     execute further transactions, as shoWn by step 709 of the                device, a cryptographic processing device that is part of the
     method 700. It is also possible for the user to begin using         25   security module, and a target module. The interface control
     another personality (by entering an appropriate access code),            device, together With a target module 1/ O interface, provides
     as shoWn by step 709 of the method 700. Eventually, use of               a uniform interface With Which each target module commu
     the modular device ends, as shoWn by step 718 of the                     nicates. Thus, in general, a target module having any desired
     method 700.                                                              functionality can be used With a modular device according
        As indicated above, the modular device and associated                 to the invention, so long as the target module is implemented
     modular device driver can be implemented so that it is                   so as to enable communication With an interface of the type
     possible to use only the target functionality of the modular             presented by the security module. Those skilled in the art of
     device, even Without entering an appropriate access code. In             data communications can readily understand hoW to imple
     the method 700, such operation is shoWn by the steps 714,  ment such communication in a target module in vieW of the
     715 and 716, Which function in the same manner as steps 35 detailed description beloW (see FIGS. 8, 9A and 9B) of an
     711, 712 and 709, described above. Using the modular                     embodiment of a security module according to the
     device in this Way can be useful, for example, When the                  invention, and, in particular, an interface control device of
     target module is a biometric module, as described further                such a security module.
     beloW, that is used to perform user authentication. In                     For example, a target module of a modular device accord
     particular, if the biometric module is to be used as the                 ing to the invention can be embodied as a memory module
     mechanism to enter the access code in step 704, operation in             adapted to enable non-volatile storage of data. In general,
     this mode may be necessary (depending on the capabilities                any such memory module can be used as a target module.
     of the biometric module) to enable such use of the biometric             More particularly, a memory module including a solid-state
     module. (Of course, in this case, security functionality, i.e.,          disk storage device (e.g., NAND ?ash memory device) can
     user authentication, is used as part of the step 715). The step     45   advantageously be used. Illustratively, a memory module
     717 can also enable use of the security functionality to begin           that can be used as a target module in a modular device
     by causing a prompt for an appropriate access code to appear             according to the invention can include a compact ?ash
     (step 704). Again, eventually, use of the modular device ends            memory device, such as an ATA format ?ash disk drive.
     (step 718).                                                              Other solid-state disk storage devices, such as SCSI disks
        As described above, a modular device according to the                 and IDE disks can be used. The construction and operation
     invention that includes a security module and target module              of memory devices in general, as Well as those identi?ed
     can be implemented so that the host computing device is not              particularly above, is Well understood by those skilled in that
     aWare of the presence of the security module. It may also be             art, so that, together With an understanding of the required
     desirable to shield the user from knowledge of the presence              communication capability betWeen the target module and
     of the security module and cause predetermined security             55   the security module, a memory module for use With the
     operations to be performed automatically. This may be                    invention can be easily constructed and operated. Amodular
     desirable so that, for example, it is not necessary for the user         device according to the invention that includes a memory
     to provide input regarding the performance of security                   module as a target module can be used, for example, to
     operations, thus eliminating the possibility that the user Will          securely store data in a manner that enables a user of the data
     neglect to provide such input, or Will provide the input                 to easily carry the data With them Wherever they go.
     incorrectly or incompletely. Or, it may be desirable to make                A target module of a modular device according to the
     security operations transparent to users to enhance the                  invention can also be embodied as a communications mod
     security of those operations, since, if the performance of               ule adapted to enable communication betWeen the host
     such operations is unknown, there Will be no attempt to                  computing device and a remote device. In general, any such
     defeat the security provided by those operations. If such is        65 communications module can be used as a target module. A
     the case, the modular device driver can be implemented so                communications module that can be used as a target module
     that the modular device can operate only in the security                 in a modular device according to the invention can include,
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 21 of 25 Page ID #:73


                                                                6,003,135
                                   17                                                                     18
     for example, a data communications modem (such as, for                  library of data can be stored in a memory device of the
     example, a conventional telephone line modem, ISDN                      security module.
     modem, a cable modem, or a Wireless modem) or a LAN                       When a modular device including a ?ngerprint scanning
     transceiver (either Wired or Wireless and, in the latter case,          module is embodied as a card adapted to be inserted into a
     operating in, for example, the infrared or radiofrequency               slot of a host computing device, it may be useful to make the
     spectrum). The construction and operation of communica                  ?ngerprint scanning module relatively long, so that a portion
     tion devices in general, as Well as those identi?ed particu
                                                                             of the card on Which the sensor is positioned can extend
     larly above, is Well understood by those skilled in that art, so
                                                                             from the slot of the host computing device, thereby enabling
     that, together With an understanding of the required com
                                                                             ?ngerprints to be scanned While the modular device is
     munication capability betWeen the target module and the            10   inserted in the host computing device. Similarly, for a
     security module, a communication module for use With the
     invention can be easily constructed and operated. A modular
                                                                             ?ngerprint scanning module, retinal scanning module or
     device according to the invention that includes a commu
                                                                             faceprint scanning module, it may be desirable to form the
                                                                             module so that the sensor is connected to the remainder of
     nications module as a target module can be used, for
                                                                             the module via an appropriate communication line, thus
     example, to encrypt electronic mail before transmission to         15   providing some range of movement of the sensor While the
     an addressee. Or, such a modular device can be used, for
                                                                             modular device is inserted in the host computing device,
     example, to encrypt data ?les that a person Wishes to
                                                                             thereby facilitating use of the module.
     securely transfer betWeen a computing device at the person’s
     place of Work and a computing device at the person’s home.                A biometric module can be used in different Ways With a
       A target module of a modular device according to the                  system according to the invention, depending upon the
     invention can also be embodied as a biometric module,
                                                                             capabilities of the biometric module. Using knoWn appara
     Which is de?ned herein as any module that is adapted to                 tus and methods, a “smart” biometric module can be imple
     receive input data regarding a physical characteristic of a             mented With the capability to detect the presence of an input
     person based upon a physical interaction of the person With             to the sensor, and, upon such detection, initiate acquisition
     the module. In general, any such biometric module can be                of the biometric data, transfer of the data to the security
                                                                        25
     used as a target module. Biometric modules that can be used             module, and performance by the security module of the
     in a modular device according to the invention can include,             appropriate data comparison. Such a biometric module can
                                                                             be used to perform user authentication as in step 704 of the
     for example, a ?ngerprint scanning device, a retinal scan
     ning device or a faceprint scanning device.                             method 700 above. Alternatively, the biometric module may
                                                                             be “stupid” and require that a user initiate the data acquisi
       In addition to conventional computational devices for
                                                                             tion and authentication process. Such a biometric module
     storing and/or manipulating digital data, a biometric module            can be used to perform user authentication in a modular
     includes a sensor for sensing the physical characteristic, and
                                                                             device that alloWs operation Without entry of a proper access
     an analog-to-digital converter to transform the analog data
                                                                             code, as in steps 714 and 715 of the method 700.
     representing the sensed characteristic into digital data. For
     example, a ?ngerprint scanning module includes a sensor 35                A target module of a modular device according to the
     upon Which a person can place a ?nger, the sensor sensing  invention can also be embodied as a smart card reader
     the ?ngerprint of the ?nger, the content of the sensed     module  adapted to communicate With a smart card such as,
     ?ngerprint being converted into digital data by the module.             for example, a smart card compliant With the ISO 7816
     Similarly, a retinal scanning module includes a sensor Which            standard. Such a module can be implemented by adapting a
     can be placed proximate to a person’s eye, the sensor                   conventional smart card reader, the construction and opera
     sensing characteristics of the eye such as blood vessel                 tion of Which is Well knoWn to those skilled in that art, to
     pattern or iris pattern, the module translating the content of          provide a communications interface that enables the smart
     the sensed characteristics into digital data. The construction          card reader to communicate With the security module. A
     and operation of biometric devices in general, as Well as               modular device according to the invention that includes a
     those identi?ed particularly above, is Well understood by               smart card reader module can be used to provide security
                                                                        45
     those skilled in that art, so that, together With an understand         features to a smart card reader, or add to existing security
     ing of the required communication capability betWeen the                features of a smart card reader.
     target module and the security module, a biometric module                 As indicated elseWhere herein, a modular device accord
     for use With the invention can be easily constructed and                ing to the invention can also be used With a host computing
     operated. Fingerprint scanning devices and retinal scanning             device When the modular device includes only a security
     devices that can readily be modi?ed for use With the                    module, such a situation capable of being detected as
     invention, i.e., to communicate With a security module                  described above. In that case, the modular device can be
     according to the invention, are knoWn to those skilled in that          used to, for example, encrypt or decrypt data stored on the
     art. For example, ?ngerprint scanning devices such as those             host computing device by receiving the data from the host
     available from Identix Incorporated of Sunnyvale, Calif. can       55   computing device, encrypting or decrypting the data as
     be used in a ?ngerprint scanning module for use With the                appropriate, then returning the encrypted or decrypted data
     invention.                                                              to the host computing device. (It can also be possible to use
        Amodular device according to the invention that includes             only the security module, in the manner just indicated, of a
     a biometric module as a target module can be used, for                  modular device that includes a target module.)
     example, to enable user authentication to a host computing                It is to be understood that the examples given above are
     device before alloWing access to particular data stored on the          merely illustrative, not exhaustive, of the Ways in Which a
     host computing device. Such user authentication can be                  modular device according to the invention can be used.
     accomplished by using a biometric module to obtain bio                  Many more possibilities exist.
     metric data from a user, transmitting the user’s biometric                FIG. 8 is a block diagram of a security module 800
     data to a security module, and comparing the biometric data        65   according to one embodiment of the invention. The security
     to an appropriate library of biometric data representing a              module 800 includes a cryptographic processing device 801,
     predetermined group of people (e.g., authoriZed users). The             an interface control device 802, a ?rst memory device 803,
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 22 of 25 Page ID #:74
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 23 of 25 Page ID #:75
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 24 of 25 Page ID #:76
Case 8:16-cv-01790-JVS-AGR Document 1-2 Filed 09/27/16 Page 25 of 25 Page ID #:77
